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AO 467 (Rev. 01/09) Order Requiring a Defendant to Appear in the District Where Charges are Pending and Transferring Bail

UNITED STATES DISTRICT COURT

 

for the
District of Colorado
United States of America )
y. ) Case No. Q \-mn\- - MEH
; ) :
K lete eec \ K Ke) \ec ) Charging District: Disteict oy Columbia
Defendant ) Charging District’s Case No. 1.2) - mj - Y>- Rm

ORDER REQUIRING A DEFENDANT TO APPEAR IN THE DISTRICT
WHERE CHARGES ARE PENDING AND TRANSFERRING BAIL

After a hearing in this court, the defendant is released from custody and ordered to appear in the district court
where the charges are pending to answer those charges. If the time to appear in that court has not yet been set, the :
defendant must appear when notified to do so. Otherwise, the time and place to appear in that court are: :

 

Courty om No.: n
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meee N01) ae provided ar Ade RS TVS

The clerk is ordered to transfer any bail deposited in the registry of this court to the clerk of the court where the
charges are pending. :

Date: Way |roe! mb ¢ got

 

 

 

 

Judge 's signatu

 

Printed name and title

 
